Case 1:14-cv-23323-RNS Document 231 Entered on FLSD Docket 11/08/2017 Page 1 of 6



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

  DISABILITY RIGHTS FLORIDA, INC.,
  on Behalf of its Clients and Constituents,

          Plaintiff,
                                                 Civil Action No. 14-23323-Civ-SCOLA
  vs.                                            Consolidated Action Case No. 14-24140-Civ-
                                                 SCOLA

  JULIE JONES,
  Secretary, Florida Department of Corrections,
  in her Official Capacity;
  WEXFORD HEALTH SOURCES, INC.; and
  FLORIDA DEPARTMENT OF CORRECTIONS,
  an Agency of the State of Florida,

       Defendants.
  ______________________________________/


                JOINT MOTION TO DISMISS AND RETAIN JURISDICTION
              FOR LIMITED PURPOSE OF ATTORNEYS’ FEES AND EXPENSES

           In April 2015, this Court issued an Order administratively closing this case for

  approximately two years to allow time for implementation of a Settlement Agreement

  (“Agreement”) that could resolve the case. (Doc. 61). Per the Agreement and Order, the case

  was to be dismissed with prejudice on May 31, 2017 unless the Plaintiff filed a timely Motion to

  Reopen the case alleging breach of the agreement. (Id.). The Parties requested, and the Court

  granted, an extension of the administrative closure through November 30, 2017. (Doc. 191,

  196).

           The Parties now notify the Court that the Plaintiff will not file a Motion to Reopen the

  case due to breach. Additionally, the Parties request the Court dismiss the case with prejudice

  pursuant to Fed. R. Civ. P. 41(a)(2) and, in the Order of Dismissal, specifically retain jurisdiction
Case 1:14-cv-23323-RNS Document 231 Entered on FLSD Docket 11/08/2017 Page 2 of 6



  over the case for the limited purpose of determining reasonable attorneys’ fees and expenses in

  the event the Parties are unable to resolve the issue through negotiation or mediation.1

         (1)     This action for injunctive and declaratory relief was brought by Disability Rights

  Florida (DRF), an organization empowered and charged by Federal law to protect the rights of

  mentally ill individuals in Florida, including persons with mental illness confined by the State of

  Florida at Dade Correctional Institution (Dade CI). (Doc. 46, ¶ 4). DRF is the Protection and

  Advocacy System (“P&A”) in Florida mandated under federal law to “ensure that rights of

  individuals with mental illness are protected.” 42 U.S.C. § 10801(b)(1).

         (2)      This case was originally stayed in November 2014 to allow the Parties an

  opportunity to settle the case. (Doc. 27).

         (3)     Through a series of mediations, the Parties reached a private Agreement intended

  to resolve and eventually dismiss this litigation. (Doc. 59-1). The Agreement provided for expert

  assessments and recommendations for improvements of the inpatient unit, development of a plan

  to implement those recommendations, a period for implementation of the plan and follow-up

  monitoring of the implementation. (Id.). The Agreement also contained time frames for carrying

  out the Agreement over a two-year period. (Id.).

      (4) Additionally, the Defendants agreed to pay the Plaintiff reasonable attorneys’ fees and

  costs after the case is dismissed with prejudice. (Id.). The Parties agreed to negotiate fees and

  costs and if reasonable attorneys’ fees and costs cannot be agreed upon within 60 days after the

  dismissal, the Parties will engage in mediation. (Id.). If the fees and costs are not resolved

  through mediation within 60 days, then the Plaintiff may pursue judicial relief to resolve fees and



  1
   This request should not affect any case management deadlines or activities in the matter of
  Chapman, et al. v. Florida Dept. of Corrections, et al., which is currently consolidated with this
  case.
                                                   2
Case 1:14-cv-23323-RNS Document 231 Entered on FLSD Docket 11/08/2017 Page 3 of 6



  costs. (Id.). The Parties specifically agreed that the District Court may retain continuing

  jurisdiction after dismissal of the case for the limited purpose of determining reasonable

  attorneys’ fees and costs if the Parties fail to reach agreement through negotiation or mediation.

  (Id.).

           (5)    The Agreement was contingent on this Court entering an order administratively

  closing the case until May 31, 2017 to allow the parties to carry out the terms of the Agreement.

  (Id.). Absent the presence of a pending motion for material breach of the Agreement, the case

  was to be dismissed with prejudice at that time. (Id.).

           (6)    The Parties filed a joint motion for administrative closure of the case to allow

  time for the implementation of the Agreement. (Doc. 59).

           (7)    On April 15, 2015, this Court granted the motion and directed the clerk to

  administratively close the case. (Doc. 61). The Order states that the case will be dismissed with

  prejudice on May 31, 2017 unless the Plaintiff files a timely Motion to Reopen the case alleging

  breach of the Agreement. (Id.).

           (8)    On May 19, 2017, the Parties jointly moved the Court for a six-month extension

  of the Court’s jurisdiction and the administrative closure. (Doc. 191). The Court granted the

  Parties’ request and extended the administrative closure through November 30, 2017. (Doc. 196).

           (9)    The Plaintiff will not be filing a Motion to Reopen the case for breach of the

  Agreement.

           (10)   Additionally, the Parties have started negotiations to resolve Plaintiff’s attorneys’

  fees and expenses. The Parties are attempting to resolve the matter as quickly as possible per

  Section IV (13) of the Agreement. The only issue to be resolved among the Parties is the

  reasonable amount of the fees and expenses.



                                                    3
Case 1:14-cv-23323-RNS Document 231 Entered on FLSD Docket 11/08/2017 Page 4 of 6



         (11)    The Parties request the Court enter an order dismissing the case with prejudice but

  retaining jurisdiction for the limited purpose of determining reasonable attorneys’ fees and

  expenses in the event the Parties fail to reach agreement through negotiation or mediation. At

  the end of the 120-day negotiation/mediation period specified in the Agreement, the Parties will

  notify the Court regarding the status of the matter of attorneys’ fees and expenses. If the parties

  require the Court to resolve the matter, Plaintiff will request permission to file a Motion for

  Attorneys’ Fees and Expenses.

                                     MEMORANDUM OF LAW

         Fed. R. Civ. P. 41(a)(2) allows for voluntary dismissal of a case at a plaintiff’s request by

  court order on terms the court considers proper. Unless the order states otherwise, a dismissal

  under this section is without prejudice. In the instant case, after nearly three years of

  negotiations, agreement on settlement, implementation of settlement and monitoring of

  settlement, the Plaintiff is requesting a dismissal with prejudice under Fed. R. Civ. P. 41(a)(2).

  The Plaintiff will not be seeking to reopen the case for breach of the Agreement. Per the terms

  of the Agreement, this allows the Court to dismiss the case with prejudice.

         Additionally, the Parties jointly request that the order of dismissal with prejudice

  specifically retain jurisdiction for the limited purpose of determining Plaintiff’s reasonable

  attorneys’ fees and expenses in the event the Parties are unable to resolve the matter through

  negotiations or mediation. When the dismissal is pursuant to Fed. R. Civ. P. 41(a)(2), which

  specifies that the action may be dismissed at the plaintiff’s request by court order on the terms

  that the court considers proper, the court's “retention of jurisdiction” over the settlement contract

  may, in the court's discretion, be one of the terms set forth in the order. Kokkonen v. Guardian

  Life Ins. Co. of Am., 511 U.S. 375, 381 (1994). The Eleventh Circuit also held that a court has



                                                    4
Case 1:14-cv-23323-RNS Document 231 Entered on FLSD Docket 11/08/2017 Page 5 of 6



  jurisdiction to enforce the parties’ settlement agreement following the dismissal of a case if the

  court issued an order retaining jurisdiction prior to the case being dismissed. Otegui v. City

  Works Constr. LLC, 2017 WL 945638 at *2 (S.D. Fla. Jan. 17, 2017) (citing Anago Franchising,

  Inc. v. Shaz, LLC, 677 F.3d 1272, 1278-79 (11th Cir. 2012)). In the instant case, the Parties are

  requesting an order of dismissal that expressly retains jurisdiction for the limited purpose of

  determining reasonable attorneys’ fees and expenses as contemplated by the Parties’ Agreement.

  (Doc. 59-1 at 13).

         WHEREFORE, the Parties request the Court dismiss the case with prejudice and

  expressly retain jurisdiction after dismissal for the sole purpose of determining reasonable

  attorneys’ fees and expenses if the Parties fail to reach agreement through negotiation or

  mediation.


                                                Respectfully submitted,

                                                /s/ Peter P. Sleasman

                                                Counsel for Plaintiff
                                                Peter P. Sleasman, Esq.
                                                Fla. Bar No. 367931

                                                Kristen Cooley Lentz, Esq.
                                                Fla. Bar No. 649635

                                                Disability Rights Florida
                                                2473 Care Drive, Suite 200
                                                Tallahassee, Florida 32308
                                                850-488-9071 (telephone)
                                                850-488-8640 (facsimile)
                                                PeterS@DisabilityRightsFlorida.org
                                                KristenL@DisabilityRightsFlorida.org

                                                PAMELA JO BONDI
                                                ATTORNEY GENERAL
                                                /s/ J. Lee Marsh
                                                JAMES LEE MARSH

                                                   5
Case 1:14-cv-23323-RNS Document 231 Entered on FLSD Docket 11/08/2017 Page 6 of 6



                                           Chief Assistant Attorney General
                                           Florida Bar No.: 854611 / A5502261
                                           Office of the Attorney General
                                           The Capitol, Suite PL-01
                                           Tallahassee Florida 32399-1050
                                           Telephone: (850) 414-3300
                                           Facsimile: (850) 488-4872
                                           Lee.Marsh@myfloridalegal.com
                                           Attorney for Defendants Julie L. Jones, Secretary,
                                           Florida Department of Corrections and the Florida
                                           Department of Corrections

                                           /s/ Devang Desai
                                           Devang Desai, Esq.
                                           Florida Bar No. 664421
                                           Gaebe, Mullen, Antonelli & DiMatteo
                                           420 South Dixie Highway, 3rd Floor
                                           Coral Gables, FL 33146
                                           ddesai@gaebemullen.com
                                           Attorney for Defendant, Wexford


                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of this pleading was served upon the

  Defendants via CM/ECF on November 8, 2017.


                                           /s/ Peter P. Sleasman
                                           Attorney for Plaintiff




                                               6
